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                             Steven F.Gruel
                                   wwwogruellaw.com


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attystevongrucI(ω sbcg10balonct




March 15,2021

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Ruth C,Pinkel
Assistant United States Attomey
15001」 nited States CounhOuse
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RE:〔ア     ,サ?d枕
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                         】″う,々 】rο ′脇α刀ら てR― θ0227‑R(F/
      Reply to letter dated lDecemnber 21,2020
      Remewed Request For Notice of Expert Witness
      Remewed Request for Nodce of404(b)material
      Renewed Requestfbr E,isclosure of Evidence Pursuant to lRule 12

Dear Ms,Pinkel

Thank you for your response to my discovery letter dated November 24,2020。

We've had several bouts of cOvid in my family including rny wife. I'In happy to say that
we suⅣ ived the impact Ofcovid in our fanlily,butthe ordeal has delayed my response to
you. Please note thatthe defense renews its May 27,2020 request fbr Notice oFany
expeH witnesses at trial;notice ofall evidence Rule 404(b);and,nOtice ofhe
gover:ment's evidence in its case in chiefpursuant to Federal Rule 12.
                                                                                           Case 2:20-cr-00224-RGK Document 88-6 Filed 11/30/21 Page 2 of 4 Page ID #:724




       Replv to the December 21.2020 Response For Discovery

I noticed in your letter that rnore discovev is anticipated beyond Discovery Production
#6. Does the goverFlment havc an estimate of、 vhen that ncxt production、 vill occur?
Here is the defense reply to the govemment's response to the specinc lnaterials
requestedi

   Reauest l,When are he‐ audio                     rccordings anddpated to be disclosed?



                        紳 麟 棚辮 ば                                                             を    3,
   2020 1neeting.

   Re〔 Huest 2, Piease let rne know when oherlnatcrials in this requcst will be provided.
   I believe hatthe govemment's βr,ゥ Obligations require ttn disclosure as requested,
   The USAO in he Ccnt盟      l Disttict pЮ secutedi■ ■■■PfOrnumeЮ us criminal
   offenses and clearly must have additional】 r,′ノmate五 al beyond the charging
   document and Plea agreement,I believe』 ′
                                          ,どノand its progeny require he
   government to ttHy disclose these rnaterials,in addition to disclosing use ofhis
                              Cuing
  E笛出緊:IH鉢 総鳥ヽ    協亀
             ll鷲 謎争 拶洋1薄 揺f督 寵
   govemment to secure hese materials to the extent that the federal govemmentis
   aware ofthe likelihood ofthese rnaterials,can iOcate thent or,in fact)already possess
   hem.
   Please let rne know ifthis is an issue that needs to be addressed by the Court。



   Request 3.Please infom us when hese materials are expected to be disclosed.

   Recuest 4.Please inforin us when these materials are expected to be disciosed.

   Recuest 5.Thank you for pЮ 宙ding this discover.

   Requests 6.7.and 8.Please let mc know what other            discovery is fbtthconing from
   these three related prosecutions to                       The defense assens that this
   infoД   ュ
           ェ
           ニation   will pЮ   宙de   impeachment material(henCe,】 w″ノ       Crユα             the
                                                                              つagainst
   govemment's witnesses and call into question the credibility ofthe 'と
                                                                       prosecution's
   case。


   Request 9,Please pЮ 宙de he legal basis to deny pro宙 ding Mr.BЮ umand's ile.
   G市 en thatthis case will come down to witness credibility,he defense maintains hat
  Defendant's complete persorinel ile must be disclosed not only under】 r,′ノbut it
  may include statelments by Mro BЮ urland.

  Ret」 uests    10&11.First,this request onty covers appЮ ximately 6 years(releVant tO
                                                                                                       Case 2:20-cr-00224-RGK Document 88-6 Filed 11/30/21 Page 3 of 4 Page ID #:725




  the times in this case)and nOt almost anything BЮ umand did as an FBI agent."
  Second,without providing defense strategy or anticipated deFenses,these requested
   are relevant to the Jury's色 1l understanding ofthe evidence at trialin weighing
  credibility and he determination wheher the goveriment wili satisfy its burden of
  prOOニ


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Case 2:20-cr-00224-RGK Document 88-6 Filed 11/30/21 Page 4 of 4 Page ID #:726




     Request 12.Please verify when these materials will be provided

     Request 13.Please pro宙 de a copy ofhe search warant applicttion mentioned on Bayes
     Number USA0 00011050。 AIso,the January 2015 request refers to agent BK)umand's
     trip to Los Angeles to intЮ duce■ ■ HEto FBI SA Kusin.



     expttnttiOn suppomng tts request,NonethЛ       ess,whether―                and Temendzhyan
     associated with other law enforcement agents on an ongoing rnanneris highly rclevant in
    weighing―            and Othcr iaw enfottcment crcdibilityo Clcarly his requcst is not
    overbroad― arst,s△     Torbic included this lilnited infol只   二
                                                                  よation   in his official report of
     interview ofNicolas Steele,second,what investigative steps,ifany,subsequently
    occured should be easily ascertained by the case agent.

    Request 15&16.Please veri,when the defense can cxpect production ofthese
    rnaterials.


    Recluest 17.Thi s request only covers appЮ 対mately 6 years(releVant tO
    the timcs in this case)and iS not overbroad.AIso,wihout pro宙 ding defense stratcgy or
    anticipated defenses,these requested are relevant to the Juり 'S角 1l understanding of the
    evidence at trial in weighing credibility and the detα   H五 nation      wheherthe govemment
    will satisfy its burden ofproo￡


             Recuest for Additional Discoverv

        1, Please provide allinteⅣ iews ofMaria Whitson and her husband Todd WYhitson,to
             include Agents'notcs.

        2. Please provide Mr.Broumand's Financial E)isclosure for 2017.

        3,Please provide pЮ ot inCluding thc date(S),OfMr.Br9umand accessing and
            searching FBI data bases for he Qatari Prince.

        4. Please provide copy of checks given to〜 生
                                                   r.Broumand by the FBI during the
            period 1/1/2012‐ ‑12/31/2016。

        5.Please provide copy of Mr.Broumand's undercover(UC)Credit Card statements
            during thc period 1/1/2012‑12/5/2018。

        6, Please provide complete copy ofMr.Broumand's paper calendars/appointment
            books lbr years 2014‑2018 1eA on his desk.




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